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 3
     40 E. Rio Salado Pkwy., Suite 425
     Tempe, AZ 85281
 4
     Telephone: (480) 733-6800
     Fax: (480) 733-3748
 5
     efile.dockets@davismiles.com
 6   Pernell W. McGuire – SBN 015909
     M. Preston Gardner – SBN 029868
 7   Attorneys for Debtor

 8                      IN THE UNITED STATES BANKRUPTCY COURT
 9                                FOR THE DISTRICT OF ARIZONA
10
     In re:                                        Chapter 11
11
     12 UNIVERSITY, LLC                            Case No.: 4:20-bk-11567-BMW
12

13                                       Debtor.   BAR DATE NOTICE OF FILING
                                                   OBJECTION TO PROOF OF CLAIM
14
                                                   NO. 4 FILED BY AUTO-OWNERS
15                                                 INSURANCE COMPANY

16
              NOTICE IS HEREBY GIVEN that 12 University, LLC (the “Debtor”), by and
17

18
     through undersigned counsel, has filed an Objection to Proof of Claim No. 4 Filed by Auto-

19   Owners Insurance Company (the “Objection”). The Objection requests entry of an Order
20
     disallowing the claim of Auto-Owners Insurance Company in its entirety.
21
              NOTICE IS FURTHER GIVEN that, pursuant to Local Rule 3007-1, any party
22

23   opposing the Objection must, WITHIN TWENTY-ONE (21) DAYS of service of this
24
     Notice, file a written response opposing the Objection with the United States Bankruptcy
25
     Court, 38 S. Scott Ave., Suite 100, Tucson, Arizona, and serve a copy of the response upon
26

27   Debtor’s counsel at the address listed above. If no response is timely filed, the Court may

28                                                                                             1

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 1   enter an Order sustaining the Objection without further notice. In the event a response is
 2
     timely filed, the Court will set a hearing on the matter and all parties will be notified
 3
     thereafter.
 4

 5          DATED this 28th day of February, 2022.
 6
                                      DAVIS MILES, MCGUIRE GARDNER, PLLC
 7

 8                                    /s/ M. Preston Gardner
 9                                    Pernell W. McGuire
                                      M. Preston Gardner
10                                    Attorneys for Debtor
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 1
     A copy of the foregoing was mailed
 2   this 28th day of February, 2022 to:
 3
     Auto-Owners Insurance Company
 4   c/o Barrett & Matura PC
     8925 E. Pima Center Pkwy., Suite 215
 5
     Scottsdale, AZ 85258
 6
     Edward K. Bernatavicius
 7
     Trial Attorney
 8   Office of the United States Trustee, Region 14
     230 N. First Ave, Suite 204
 9   Phoenix, AZ 85003
10

11   By: /s/ Joan Stoner
             Joan Stoner
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